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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )
                       Plaintiff,                )                    4:08CR3078
                                                 )
               v.                                )
                                                 )             AMENDMENT TO
PEEAIR SHAUN WARD,                               )      TENTATIVE FINDINGS REGARDING
                                                 )       PRESENTENCE INVESTIGATION
                       Defendants.               )                 REPORT
                                                 )


       IT IS ORDERED that the Tentative Findings Regarding Presentence Investigation

Report, filing 77, is amended in that the date and time for conducting the evidentiary and

sentencing hearing shall be amended to read November 5, 2008, at 12:15 p.m. The remaining

statements in the Tentative Findings Regarding Presentence Investigation Report, filing 77,

remain as set out therein.

       Dated October 17, 2008.

                                        BY THE COURT


                                        S/ Warren K. Urbom
                                        United States Senior District Judge
